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           14                    UNITED STATES DISTRICT COURT
           15          CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           16
                 MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           17    a Delaware corporation; and
                 CERCACOR LABORATORIES, INC.,                  APPLE’S NOTICE OF MOTION AND
           18    a Delaware corporation,                       MOTION TO BAR PLAINTIFFS
                                                               FROM RAISING OFFENSIVE
           19                       Plaintiffs,                COLLATERAL ESTOPPEL
           20          v.
                                                               Date: August 22, 2022
           21    APPLE INC.,                                   Time: 1:30pm
                 a California corporation,
           22                                                  Discovery Cut-Off: August 12, 2022
                                    Defendant.
           23                                                  Pre-Trial Conference: March 13, 2023
                                                               Trial: March 28, 2023
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                 APPLE’S MOT. TO BAR PLAINTIFFS FROM RAISING OFFENSIVE COLLATERAL ESTOPPEL
Wilmer Cutler
Pickering Hale
and Dorr LLP
                                                                        CASE NO. 8:20-cv-00048-JVS (JDEX)
          Case 8:20-cv-00048-JVS-JDE Document 852 Filed 07/22/22 Page 2 of 3 Page ID #:55758


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                 APPLE’S MOT. TO BAR PLAINTIFFS FROM RAISING OFFENSIVE COLLATERAL ESTOPPEL
Pickering Hale
and Dorr LLP
                                                                        CASE NO. 8:20-cv-00048-JVS (JDEX)
          Case 8:20-cv-00048-JVS-JDE Document 852 Filed 07/22/22 Page 3 of 3 Page ID #:55759


             1   TO THE COURT, PLAINTIFFS, AND ALL COUNSEL OF RECORD:
             2         PLEASE TAKE NOTICE that on August 22, 2022, or as soon thereafter as the
             3   matter may be heard, in Courtroom 10C, located at 411 West Fourth Street, Santa Ana,
             4   California, 92701, Defendant Apple Inc. (“Apple”) will, and hereby does, move for the
             5   Court to Bar Plaintiffs From Raising Offensive Collateral Estoppel.
             6         This motion is supported by the accompanying Memorandum in Support, the
             7   Declaration of Nora Passamaneck, a Proposed Order, and such other evidence or
             8   argument as may be presented at or before the hearing.
             9         This motion is made pursuant to Order No. 11 Of Special Master Regarding Two
           10    Discovery Motions, dated July 15, 2022.
           11
           12    Dated: July 22, 2022                  Respectfully submitted,

           13                                          H. MARK LYON
           14                                          BRIAN M. BUROKER
                                                       BRIAN A. ROSENTHAL
           15                                          ILISSA SAMPLIN
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                                                       By: Mark D. Selwyn
           25                                              Mark D. Selwyn
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           27                                          Attorneys for Defendant Apple Inc
           28

Wilmer Cutler
                 APPLE’S MOT. TO BAR PLAINTIFFS FROM RAISING OFFENSIVE COLLATERAL ESTOPPEL
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                                                           1            CASE NO. 8:20-cv-00048-JVS (JDEX)
